Case 1-24-40294-nni Doc y-f Filed Qo/O/i24 Entered Vs/O/i24 2140709

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Debtor New York International Bagel & Coffee
EIN: XX-XXXXXXX

Inc.
Name
United States Bankruptcy Court Eastern District of New York Date case filed for chapter: 7 1/23/24

Case number: 41-24-40294-nhl

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case —— No Proof of Claim Deadline 10/20

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at

the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.qov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.

1. Debtor's full name New York International Bagel & Coffee Inc.
2. All other names used in the

last 8 years
3. Address Mahmoud Ismail

66-25 Garfield Avenue
Long Island City, NY 11101

4. Debtor's attorney SOO Contact phone (718) 263-2922
Name and address 80-02 Kew Gardens Road Email: SA@lawsteinberg.com

Suite 300
Kew Gardens, NY 11415

5. Lori Lapin Jones Contact phone (516) 466-4110
Bankruptcy trustee Lori Lapin Jones PLLC
Name and address 98 Cutter Mill Road Email: jones@jonesplic.com
Suite 255 South
Great Neck, NY 11021

6. , 271-C Cadman Plaza East, Suite 1595 Hours open:
Bankruptcy clerk's office Brooklyn, NY 11201-1800 9:00 am — 4:30 pm Monday-Friday

Documents in this case may be

filed at this address. You may _
inspect all records filed in this case Contact phone (347) 394-1700
at this office or online at

https://pacer.uscourts.qov. Date: 1/23/24
7. Meeting of creditors March 1, 2024 at 09:30 AM Location:
The debtor's representative must ae
attend the wicerng to be questioned © The meeting may be continued or adjourned to alater © Zoom video meeting. Go to Zoom.us/join,
under oath, Creditors may attend, but ate. If so, the date will be on the court docket. Enter Meeting ID 215 709 1137, and
are not required to do so. ear 7820099907, OR call 1516

For additional meeting information go to https://www.justice.gov/ustimoc

8. Proof of claim No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.

Please do not file a proofof If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
on unless you receive anotice that you may file a proof of claim and stating the deadline.
0 do so.

9. Creditors with a foreign If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
address extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have

any questions about your rights in this case.

